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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                             Chapter 11

FTX TRADING LTD., et al., 1                                       Case No. 22-11068 (JTD)

         Debtors.                                                  (Jointly Administered)



ALAMEDA RESEARCH LLC, FTX
TRADING LTD., WEST REALM SHIRES,
INC., AND WEST REALM SHIRES
SERVICES INC. (D/B/A FTX.US),

         Plaintiffs,
                                                                   Adv. Pro. No. 23-50419 (JTD)
         v.

DANIEL FRIEDBERG,                                                  Adv. Ref. Nos. 1, 6, 7 & 8

         Defendant.


                                    CERTIFICATION OF COUNSEL

         I, Matthew B. McGuire, counsel to FTX Trading Ltd. and its affiliated debtors and debtors-

in-possession (the “Debtors”), hereby certify as follows to the best of my knowledge, information

and belief:

         1.       On June 27, 2023, Plaintiffs Alameda Research LLC, FTX Trading Ltd., West

Realm Shires, Inc., and West Realm Shires Services Inc. (d/b/a FTX.US) (the “Plaintiffs”) initiated

the above-captioned adversary proceeding by filing the Complaint [Adv. D.I. 1] (the “Complaint”)




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    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
    of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
    Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.


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against Defendant Daniel Friedberg (the “Defendant” and, together with the Plaintiffs, the

“Parties”).

         2.       On July 7, 2023, the Defendant executed a Waiver of the Service of Summons [Adv.

D.I. 6], agreeing to accept and waive his objections, if any, to service of process. The Defendant’s

deadline to respond to the Complaint was September 15, 2023.

         3.       On July 26, 2023, the Plaintiffs filed the Notice of Pretrial Conference [Adv. D.I.

7], noticing a pretrial conference (the “Pretrial Conference”) for October 4, 2023 at 1:00 p.m. (ET),

pursuant to rule 7004-2 of the Local Rules of Bankruptcy Practice and Procedure of the United

States Bankruptcy Court for the District of Delaware.

         4.       On September 22, 2023, FTX Trading Ltd. and its affiliated debtors and debtors-

in-possession filed the Notice of Rescheduled Hearing Date in the main chapter 11 proceedings

[D.I. 2680], rescheduling the Pretrial Conference to October 19, 2023 at 10:00 a.m. (ET).

         5.       On September 27, 2023, the Plaintiffs filed the Stipulation for an Extension of Time

for Defendant to Respond to Complaint [Ad. D.I. 8], extending the Defendant's deadline to respond

to the Complaint to October 4, 2023.

         6.       The Parties have conferred and agree that the deadline for the Defendant to respond

to the Complaint shall be further extended through and including October 20, 2023 and the date of

the Pretrial Conference shall be adjourned to November 15, 2023 at 1:00 p.m. (ET).

         7.       The Parties’ stipulation is attached as Exhibit A to the proposed form of order

approving the stipulation, which is annexed hereto as Exhibit 1 (the “Order”).

         8.       Accordingly, the Parties respectfully request that the Bankruptcy Court enter the

Order at its earliest convenience.




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Dated: October 4, 2023                         LANDIS RATH & COBB LLP
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